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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No.        EDCV 20-0265 SVW (PVC)                           Date: October 22, 2021
  Title           Adrian De Los Santos Garcia v. San Bernardino Sheriff’s Dep’t, et al.


         Plaintiff is advised that pursuant to the Central District’s Local Rule 41-6, he has
  an obligation to keep the Court informed of his current address of record or the Court
  may dismiss this action:

          A party proceeding pro se must keep the Court and all other parties
          informed of the party’s current address as well as any telephone number
          and email address. If a Court order or other mail served on a pro se
          plaintiff at his address of record is returned by the Postal Service as
          undeliverable and the pro se party has not filed a notice of change of
          address within 14 days of the service date of the order or other Court
          document, the Court may dismiss the action with or without prejudice for
          failure to prosecute.

  C.D. Cal. L.R. 41-6.

         The deadline for Plaintiff to notify the Court of his current address was October
  19, 2021, i.e., fourteen days after the date the ODLA SAC issued on October 5, 2021.
  Plaintiff is therefore ORDERED TO SHOW CAUSE by November 5, 2021 why this
  action should not be dismissed pursuant to Local Rule 41-6 for Plaintiff’s failure to
  provide a current address. Plaintiff may discharge this Order by filing a response with a
  current address.

         If Plaintiff no longer wishes to pursue his claims, he may voluntarily dismiss
  this action pursuant to Federal Rule of Civil Procedure 41(a). A Notice of Dismissal
  form is attached for Plaintiff’s convenience. Plaintiff is not required to seek
  permission of the Court to dismiss his case because no Defendant has yet appeared
  or responded. Fed. R. Civ. P. 15(a)(1). However, Plaintiff is cautioned that any
  dismissed claims may be subject to a statute of limitations defense if Plaintiff seeks
  to reassert them in a later action.




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